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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION



COIN CENTER; PATRICK O’SUL-
LIVAN; JOHN DOE; and DAVID
HOFFMAN,
              Plaintiffs,

                   v.
                                           Case No.
JANET YELLEN, in her official ca-          3:22-cv-20375-TKW-ZCB
pacity as Secretary of the Treasury;
DEPARTMENT OF THE TREAS-
URY; ANDREA M. GACKI, in her
official capacity as Director of the Of-
fice of Foreign Assets Control; and
OFFICE OF FOREIGN ASSETS
CONTROL,
                      Defendants.


             PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
                 MOTION FOR SUMMARY JUDGMENT
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                                 INTRODUCTION

      Congress enacted the International Emergency Economic Powers Act to remove

the executive branch’s emergency power over “purely domestic transactions.” See Regan

v. Wald, 468 U.S. 222, 228 n.8 (1984). IEEPA limits the executive to regulating transac-

tions involving “property in which any foreign[er]... has any interest.” 50 U.S.C.

§1702(a)(1)(B) (emphasis added). When it comes to Americans dealing with their own

property interests, IEEPA promises they will be left alone. But the Biden administration

refuses. Through the Office of Foreign Assets Control, it has used IEEPA to make it a

federal felony for Americans to deposit and then withdraw their own cryptocurrency

assets from a freely-available software tool, even though no foreigner is involved. The

government defends its overreach by drawing hypothetical connections to foreigners,

but those connections do not exist and would not satisfy IEEPA if they did. If an

American’s exercise of dominion over his own assets is not a “purely domestic transac-

tion,” then little is. Because OFAC exceeded its statutory authority, Plaintiffs are enti-

tled to summary judgment.

      Plaintiffs are also entitled to summary judgment because OFAC acted arbitrarily

and capriciously and violated the First Amendment. OFAC’s overreach does not match

the proffered rationale, departs from a longstanding policy by sanctioning a technology,

and fails to consider crucial aspects of the problem. And OFAC deprived Americans




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of software that they use to privately associate and donate, needlessly chilling their con-

stitutional rights.

       Though the government’s overreach is severe, the remedy is fairly modest. Plain-

tiffs challenge the criminalization of only 29 of 91 addresses. Those are the addresses

that don’t generate any payment to foreigners and over which foreigners have no con-

trol. Accordingly, this Court should set aside the criminalization of transactions involv-

ing the 29 challenged addresses.

                             STATEMENT OF FACTS

       Ethereum. Ethereum is a popular online marketplace. A.R.730, 817. People use

Ethereum to buy, hold, and sell cryptocurrency assets. A.R.26-27. Anyone with the In-

ternet can download freely-available software to use Ethereum. A.R.546. Once some-

one does that, he generates a pseudonymous address, which is a long alphanumeric

string. A.R.1933. He can then receive and send crypto assets with that address. A.R.546.

       When a user makes a transaction using Ethereum, the transaction is posted to a

public ledger visible to anyone. A.R.17. The public ledger displays the sender’s address,

the recipient’s address, and the crypto asset that they exchanged. A.R.23. Anyone can

view every Ethereum transaction ever made. A.R.549.

       People can also write new software and publish it to the Ethereum public ledger

to allow users to participate in more advanced transactions according to rules defined

in the code. A.R.43, 547. For example, someone can publish software that allows any


                                            2
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user to send 1 crypto unit and then automatically receive it back 10 days later. A.R.547.

Software is published by assigning it to a new Ethereum address, which then allows

anyone to use the software at that address. A.R.547.

      Once someone publishes software to the Ethereum public ledger, it resides at its

address permanently and, unless specific steps are taken before publication to void that

condition, cannot be changed. A.R.548. It is immutable. Id.

      Privacy tools. Although Ethereum user addresses are pseudonymous, if a real-

world identity is linked to a user address, “it becomes possible to trace that user’s com-

plete financial history.” A.R.549. For example, if an employee asks an employer to pay

him in crypto assets, he must share his address with the employer. Ex.A¶4. Once a

person’s address is known to others, he and his family can be put at risk. For example,

if others see that someone holds a large portfolio of crypto assets, they may use threats

or violence to extort him. A.R.144.

      To respond to this problem, users have published software tools to protect their

privacy while using Ethereum. These tools generally allow users to clear a visible con-

nection between their past and future transactions, so others cannot stalk their transac-

tions. A.R.549.

      The “Tornado Cash” core software tool. This case is about one of those pri-

vacy software tools. First published in 2019, the tool was popularly referred to as “Tor-

nado Cash.” A.R.952. The government now uses the name “Tornado Cash” to refer to


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the people who wrote the software and another related group of people, rather than the

software itself. A.R.32. To avoid confusion, Plaintiffs will refer to the software as it

resides at the challenged Ethereum addresses as the “core software tool.”

       The core software tool allows users to deposit a crypto asset from their more

public address and then withdraw that asset to a new, more private address. A.R.550.

The core software tool operates simply: It “accepts ETH”—Ethereum’s native crypto

asset, A.R.818—“and other toke[n] deposits from one address and enables their with-

drawal from a different address.” A.R.51. The software “simply execute[s] ‘deposit’ and

‘withdrawal’ operations.” A.R.53. It consists of under 500 lines of code. GitHub, tor-

nadocash/tornado-core, perma.cc/5CLY-77WT; A.R.2218-26. When a user withdraws

his assets from the tool, others viewing the public ledger can no longer tell that the

assets are his, so his privacy is restored. A.R.54.

       The core software tool is published to 20 addresses and available for anyone to

read and use. A.R.563-67. The 20 versions are identical except that each is designed for

a different crypto asset. For example, the first version, published to address

0x12D66f87A04A9E220743712cE6d9bB1B5616B8Fc, allows deposits and withdraw-

als of 0.1 ETH.1



1
  The addresses, which are all on the Ethereum public ledger, are enumerated in the
administrative record at A.R.43-49 (in two lists) and the Amended Complaint (Doc. 9)
at 41-44. For ease of reference, Plaintiffs will identify each address by its number in
these two sources. The 0.1 ETH address is AR-I, AC-1.
                                            4
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      Another version, published to a different address with a different alphanumeric

code, allows deposits and withdrawals of 1 ETH.2 Another does 10 ETH.3 And another

does 100 ETH.4 Sixteen other versions allow deposits and withdrawals of different

amounts of three other crypto assets—“DAI,”5 “USDC,”6 and “WBTC.”7 All 20 of

these addresses were criminalized by the government and are challenged in this case.

Am.Compl.41-44.

      For all 20 addresses, the software is published permanently and cannot be

changed. A.R.61. Neither the software writers, anyone affiliated with the software in

any way, or anyone else in the world can change the software. A.R.563-67, 951. Some

of the 20 addresses initially included an option to be changed, but that option was re-

moved and can never be restored. A.R.557.

      Using the core software tool takes two steps. First, the user deposits his crypto

asset from his more public address to the appropriate software tool address. Second, at

a later date, he withdraws the crypto asset from that address to his more private address.

For example, when someone uses the 0.1 ETH address, the public ledger will show:




2
  AR-II, AC-2.
3
  AR-III, AC-3.
4
  AR-IV, AC-4.
5
  AR-V-XII (list one) & VII (list two), AC-5-13.
6
  AR-XIII-XVI, AC-14-17.
7
  AR-XVII-XIX, AC-18-20.
                                           5
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        Time 1: [0.1 ETH] [more public address] → 0x12D66f87…

        Time 2: [0.1 ETH] 0x12D66f87… → [more private address]

In the course of using the core software tool, a user does not have to make a payment

to anyone else, except the standard Ethereum fee that applies to all transactions.

A.R.554-56. The user does not have to pay the people who wrote the original software

or anyone affiliated with the software in any way. Id. The core software tool is free and

its use is unilateral, like putting money in and out of a piggy bank. Id.

        Registered relayers. Although the core software tool is self-sufficient, over

time, software writers have created ancillary support tools. The ancillary tools allow

people to do things related to their use of the core software tool, like more easily find

and use the core software tool,8 or make optional donations to software writers.9

        Based on the government’s theory of this case, the most important ancillary tool

for present purposes is the “registered relayer” tool. Registered relayers help users com-

plete the second step: Instead of withdrawing the asset himself, the user pays another

person, a “registered relayer,” to withdraw it and transfer it to his more private address.

A.R.559.




8
    AR-LXI, AC-30.
9
    AC-47; see A.R.48 (unnumbered).
                                             6
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        Using a registered relayer itself involves two relevant steps. First, a user must

send a request to the “relayer registry.” A.R.57. The relayer registry lists people regis-

tered    to   perform    relayer   services       and   resides   at   Ethereum   address

0x58E8dCC13BE9780-fC42E8723D8EaD4CF46943dF2.10 A.R.59. Once a user re-

quests a registered relayer from that address, his transaction is assigned to a relayer.

A.R.57-58.

        The relayer registry is maintained by an informal group called a decentralized

autonomous organization, or “DAO.” A.R.56-57. The DAO includes anyone who

owns a crypto token called a Torn token, which then grants them the ability to vote on

certain actions of the DAO. A.R.18. The DAO can update the registry and other ancil-

lary tools. A.R.59.

        Second, by requesting a registered relayer, the user sometimes generates a pay-

ment to the DAO in an amount equivalent to 0.3% of his withdrawal. A.R.59. The

payment goes to Ethereum address 0x2FC93484614a34f26F7970CBB94615bA-

109BB4bf.11 A.R.18 Only some uses of registered relayers—depending on the underly-

ing crypto asset involved—generate a payment to the DAO. A.R.59-60.




10
     AR-LXIV, AC-31.
11
     AR-LXVI, AC-63.
                                              7
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         Using a registered relayer is optional. A.R.57. A user can use the core software

tool without using a relayer at all. A.R.187. Relayers just provide an ancillary conven-

ience. A.R.559-61. And even a user who wants that optional convenience can have a

non-registered relayer do the same thing. In fact, although the core software tool has

been running since 2019, “the launch of the relayers” was on “March 2, 2022.” A.R.39.

For over two years, the core software tool functioned and was widely used without any

registered relayers to generate any payment to the DAO. Although the registration pro-

cess came to help relayers attract users, anyone can perform the relayer service by run-

ning the relayer’s open-source software himself and advertising any other way. GitHub,

tornadocash/tornado-relayer, perma.cc/C9HM-C6T9. Using a non-registered relayer

would not generate any payment to the DAO. See A.R.58.

         Plaintiffs. All four Plaintiffs use Ethereum and would use or benefit from the

core software tool. None would use registered relayers.

         Patrick O’Sullivan lives in Santa Rosa County, Florida. Ex.A.¶2. His employer

pays him in crypto assets, so he uses privacy tools to protect himself. Id.¶4. He would

use the core software tool in his regular rotation of privacy tools. Id.¶9. He would de-

posit his own asset from his publicly known address to one of the core software tool

addresses, such as the 0.1 ETH address,12 then withdraw that same asset to a new, more




12
     AR-I, AC-1.
                                             8
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private address also under his control. Id.¶¶9-13. He would not use a registered relayer.

Id.¶11. But as a result of OFAC’s criminalization, O’Sullivan cannot do these things.

       John Doe is a human rights advocate. Ex.B.¶2. He has used the core software

tool to organize donations to provide frontline aid to Ukraine. Id.¶¶5-6. He and the

donors whom he advised all used the core software tool before making any donations

to protect their identities from Russians who could retaliate against them. Id.¶9. He

and his donors would continue providing aid using the core software tool, but cannot

because of OFAC’s action. Id.¶11. Given their lack of alternatives to securely fund those

who furnish the aid, they have stopped all donations. Id.¶12. Doe would not use regis-

tered relayers. Id.¶13.

       David Hoffman routinely uses crypto assets and is well-known in the crypto

economy. Ex.C..¶¶4-5. In his regular rotation of privacy tools, he would use the core

software tool. Id.¶¶10-13. He would deposit his own asset from his publicly known

address to one of the core software tool addresses, then withdraw that same asset to a

new, more private address also under his control. Id.¶13. He would not use a registered

relayer. Id.¶12. He cannot take these planned actions due to OFAC’s criminalization.

After that criminalization, Hoffman was sent an unsolicited crypto asset through the

core software tool. Id.¶5. So he has already incurred burdensome reporting obligations

and potential liability because of OFAC’s action. Id.¶6.




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      Coin Center is a leading cryptocurrency nonprofit. Ex.D.¶3. Coin Center re-

ceives contributions from donors who use the core software tool to preserve their pri-

vacy. Id.¶§6-8. Coin Center is not aware of any that used registered relayers. Id.¶9. Coin

Center and its donors would have continued to use and benefit from the core software

tool, but cannot do so because of OFAC’s action. Id.¶10.

      Biden Administration and Crypto. It was once widely believed that America

would lead the way in embracing crypto assets. E.g., Gov. DeSantis Seeks ‘Crypto Friendly’

Florida, CBS Miami (Dec. 10, 2021), perma.cc/U8TN-K2HD; Am.Compl.¶83. But the

Biden administration now strives to make crypto “extinc[t].” Comm’r Pierce, Rendering

Innovation Kaput, SEC (Apr. 14, 2023), perma.cc/9MTH-GZZL. The administration has

waged an all-fronts war on Americans who invest and transact in crypto, and has asked

agencies to suppress this new technology. Ensuring Responsible Development of Digital As-

sets, 87 Fed. Reg. 14,143 (Mar. 14, 2022); see Thompson, Operation Choke Point 2.0: The

Federal Bank Regulators Come for Crypto (Mar. 2023), perma.cc/54DC-LF7T;

Am.Compl.¶84. Instead of a free market for crypto, the Biden administration “places

the highest urgency” on developing a “central bank digital currency,” whereby every-

one’s personal finances are controlled and surveilled by the federal government. 87 Fed.

Reg. 14,145.

      Statutory Background. Congress enacted the Trading with the Enemies Act in

1917. Pub. L. 65-91, 40 Stat. 411 (1917). That Act authorized the President to prohibit


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certain transactions in wartime, but only transactions “between the United States and

any foreign country.” Id. §5(b), 40 Stat. 415. The Act didn’t apply to any “transactions

to be executed wholly within the United States.” Id. In 1933, President Roosevelt im-

posed an emergency bank holiday under the Act. See Executive Proclamation No. 2039

(1933). Congress rushed to amend the Act to authorize Roosevelt’s domestic regulation.

Emergency Banking Relief Act, Pub. L. 73-1, 48 Stat. 1 (1933). In giving the President the

power to restrict some domestic transactions during emergencies, supporters recog-

nized that they were creating a temporary “dictatorship,” which they justified only by

the recent bank panic. S. Rep. No. 93-549, at 186 (1973) (quoting 77 Cong. Rec. 80

(1933) (Rep. McFadden)).

      America came to regret this brief experiment. S. Rep. No. 93-549, at 5-10. In

1977, Congress amended the Trading with the Enemies Act to apply “solely to times

of war.” Wald, 468 U.S. at 227. For peacetime, it enacted the International Emergency

Economic Powers Act to give the President the power to regulate transactions during

emergencies. Pub. L. 95-223, 91 Stat. 1625 (1977). But those emergency powers are

confined to transactions involving foreigners. IEEPA authorized the President to, upon

a declared emergency, restrict transactions involving “any property in which any foreign

country or a national thereof has any interest,” 50 U.S.C. §1702(a)(1)(B), thereby re-

moving the President’s emergency “power to regulate purely domestic transactions,”

H.R. Rep. No. 95-459, at 15 (1977).


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         Congress enacted the North Korea Sanctions and Policy Enhancement Act in

2016 to force the President to use his IEEPA power in certain cases, but did not add

to the power. Pub. L. 114-122, 130 Stat. 93 (2016). The Act compels the President to

designate anyone who aids the government of North Korea and prohibit “all transac-

tions in property and interests in property of a person designated,” but only if he stays

within the “powers granted to the President under [IEEPA].” 22 U.S.C. §9214(a), (c).

         Earlier designations under these Acts include Vladimir Putin, Bashar al Assad,

and the late Saddam Hussein. See OFAC Specially Designated Nationals and Blocked Persons

List, perma.cc/PC4B-M7MQ. As a result, Americans cannot transact with the property

interests of those people. For example, Americans cannot send money to Vladimir

Putin.

         Criminalization. If someone willfully engages in a transaction prohibited pur-

suant to these Acts, he commits a federal felony punishable by up to a $1,000,000 fine

and 20 years in prison. 50 U.S.C. §1705(a), (c). Other violations result in large civil fines.

Id. §1705(b); 31 C.F.R. §578.701. If someone receives blocked property, they must re-

port it. 31 C.F.R. §§501.601-02.

         Challenged action. The President has delegated some of his authority under

IEEPA to the Secretary of the Treasury. As relevant here, the President has declared

foreign emergencies and authorized the Secretary to block “property and interests in




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property … of the following persons”: those who assist malicious foreign cyber activi-

ties, Blocking the Property of Certain Persons Engaging in Significant Malicious Cyber-Enabled

Activities, 80 Fed. Reg. 18,077, 18,077-18,078 (Apr. 2, 2015); and those responsible for

aiding the government of North Korea, Blocking Property of the Government of North Korea,

81 Fed. Reg. 14,943, 14,495 (Mar. 18, 2016). The Secretary exercises her delegated pow-

ers through OFAC.

       Therefore, OFAC can prohibit transactions involving “property and interests in

property … of … persons” responsible for assisting malicious foreign cyber activities

or aiding North Korea. 80 Fed. Reg. 18,077-18,078, 81 Fed. Reg. 14,945. For example,

last year OFAC designated the Air Koryo Trading Corporation, an aviation company,

as providing support for North Korea’s weapons program. So it prohibited transactions

involving the Corporation’s property interests, such as buying flights from them or sell-

ing them supplies. Treasury Sanctions Individual, Banks and Trading Company, Treasury (May

27, 2022), perma.cc/J6PZ-UNW4.

       In 2022, OFAC determined that two new “persons” were responsible for assist-

ing malicious foreign cyber activities and aiding North Korea: (1) the software writers

who wrote the original lines of code constituting the core software tool and (2) the

decentralized autonomous organization, or “DAO” that is affiliated with ancillary tools

such as a relayer registry. A.R.32. The software writers were responsible, according to




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OFAC, because they wrote software that helped malicious cyber actors and North Ko-

rea. A.R.67-76. And the DAO was responsible because it improved ancillary tools re-

lated to this software and benefitted from these actions. Id. Both the software writers

and the DAO, according to OFAC, are foreigners. A.R.66-67.

      OFAC could have then prohibited transactions involving the “interests in prop-

erty … of” the software writers and the DAO members. See 80 Fed. Reg. 18,077-18,078,

81 Fed. Reg. 14,945. But OFAC did not do that. It did “not designat[e] Tornado Cash’s

individual founders, developers, [or] members of the DAO.” FAQ: Who is the Tornado

Cash “person” that OFAC designated?, OFAC (Nov. 8, 2022). perma.cc/7G88-DMGW.

Transactions with all of them remain legal.

      Instead, OFAC prohibited Americans from using the technology that the soft-

ware writers published—the core software tool. It announced that it was illegal for

Americans to use the core software tool with their own property. FAQ: What is prohibited

as a result of OFAC’s designation of Tornado Cash?, OFAC (Nov. 8, 2022), perma.cc/F94U-

WHPH. It prohibited all Americans from “engag[ing] in transactions involving identi-

fied Tornado Cash virtual currency wallet addresses,” including all 20 addresses hosting

the core software tool, which cannot be controlled or changed by the DAO. Id.

      In addition to the 20 core software tool addresses, it also prohibited all Ameri-

cans from engaging in transactions involving nine addresses that host ancillary tools




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that cannot be controlled or changed by anybody, including the DAO.13 Those com-

bined 29 addresses are the only ones at issue in this lawsuit. Am.Compl.41-44.

      OFAC also prohibited Americans from engaging in transactions involving 62

other addresses not at issue in this lawsuit. Those addresses host software that either

can be changed by the DAO or generate a payment to the DAO. Of those addresses,

28 host nothing—they appear to have been listed in a failed attempt to list addresses

hosting similar tools on public ledgers other than Ethereum. The remaining 34 ad-

dresses host a range of ancillary or unused software, including the registered relayer

software, but the software at those addresses can be changed by the DAO or results in

a payment to the DAO.14

      It is now a federal felony for an American to deposit and withdraw his own

property from one of the 20 core software tool addresses because transactions with

each address, according to the government, involve “interests in property … of” the

sanctioned “persons”—the software writers and the DAO. 80 Fed. Reg. 18,077-18,078,

81 Fed. Reg. 14,495.

      Regulatory History. OFAC first attempted to criminalize the core software tool

in August, and Plaintiffs sued. Doc. 1. In November, OFAC withdrew that action and


13
  AR-LIV, LXXV, XLIX-LI, LXXIX, LXXI-LXXIII; AC-21-29.
14
  The DAO’s powerlessness over the core software was recently confirmed when con-
trol transferred to an entity that sought to extract all available funds. These ancillary
tools were affected, but the core software tool remained completely untouched. Attacker
Takes Over Tornado Cash DAO, CoinDesk (May 21, 2023), perma.cc/W8QZ-KP2E.
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replaced it with the current action, which again criminalized the core software tool but

altered other addresses and changed their justification. Treasury Designates DPRK Weapons

Representatives, OFAC (Nov. 8, 2022), perma.cc/TF34-EXM8. Plaintiffs amended their

complaint. Doc. 9.

       Plaintiffs challenge only the criminalization of the use of 29 addresses. Those

consist of the 20 addresses that host the core software tool, plus 9 addresses that host

ancillary tools that also do not generate payment to foreigners and cannot be controlled

by foreigners. Id.40-44. Plaintiffs do not challenge the criminalization of any address

that contains software that generates a payment to the software writers or DAO or can

be changed by the software writers or DAO (or anybody else). If Plaintiffs win this

lawsuit, it will remain illegal to use the 62 addresses that they do not challenge. Id.

       Plaintiffs allege that the criminalization of the core software tool exceeds

OFAC’s statutory authority, is contrary to law, is arbitrary and capricious, and violates

the First Amendment. Id.¶¶128-57.

                                       STANDARD

       Plaintiffs are entitled to summary judgment if “there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). Under the APA, courts must “hold unlawful and set aside” agency action

“in excess of statutory jurisdiction, authority, or limitations,” “arbitrary [or] capricious,”

or “contrary to constitutional right.” 5 U.S.C. §706(2)(A)-(C). Courts “may not supply


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a reasoned basis for the agency’s action that the agency itself has not given.” Hewitt v.

IRS, 21 F.4th 1336, 1342 (11th Cir. 2021).

                                    ARGUMENT

      IEEPA authorizes OFAC to criminalize only transactions involving the property

interests of two sets of foreign persons, the software writers and the DAO. But here,

OFAC has criminalized transactions involving Americans’ own property. It has crimi-

nalized transactions that do not generate any payment to either set of persons, over

which neither set of persons has any control. The government theorizes that these per-

sons could receive an optional separate payment, but that is both false and insufficient.

Meanwhile, for the government to win, it would have to overcome both the rule of

lenity and the major questions doctrine, which it cannot do.

      The criminalization was also arbitrary and capricious because it did not match

the government’s foreign-affairs rationale, departed from OFAC’s longstanding posi-

tion of sanctioning persons who can change their behavior rather than technology that

cannot, and failed to consider important aspects of the problem. And it chilled pro-

tected First Amendment association by eliminating an essential privacy tool.

I.    OFAC exceeded its statutory authority.

      “The grant of authorities in IEEPA does not include the power … to regulate

purely domestic transactions.” Regan v. Wald, 468 U.S. 222, 228 n.8 (1984). It covers

only transactions involving “any property in which any foreign country or a national


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thereof has any interest.” 50 U.S.C. §1702(a)(1)(B). Here, the property interests must

belong to the two designated “foreign[ers],” the software writers and the DAO. But

instead, OFAC has prohibited Americans from moving their own property in and out

of a tool that neither the software writers nor the DAO (nor anyone else) has any con-

trol over or receives any payment from. Under the plain text and binding precedent,

OFAC therefore has no authority to criminalize all uses of the core software tool.

   A. IEEPA does not reach purely domestic transactions.

      IEEPA authorizes the President to prohibit, upon certain conditions, a range of

activities involving property in which any foreigner has any interest. The statute allows

the President to regulate or prohibit:

      any acquisition, holding, withholding, use, transfer, withdrawal, transpor-
      tation, importation or exportation of, or dealing in, or exercising any right,
      power, or privilege with respect to, or transactions involving,

      any property in which any foreign country or a national thereof has any
      interest

      by any person, or with respect to any property, subject to the jurisdiction
      of the United States

50 U.S.C. §1702(a)(1)(B) (breaks and emphasis added).

      The North Korea Sanctions and Policy Enhancement Act of 2016 makes the

exercise of this IEEPA power mandatory to block aid to North Korean weapons activ-

ities. 22 U.S.C. §9214(a), (c). Two executive orders authorize OFAC to exercise this

IEEPA power insofar as it blocks activities involving the “interests in property …of”


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any “persons” who assist malicious foreign cyber activities and aid North Korea. 80

Fed. Reg. 18,077; 81 Fed. Reg. 14,943.

       1. IEEPA requires every transaction to include the sanctioned foreign
          person’s property interest.

       IEEPA does not authorize OFAC’s criminalization because Americans’ uses of

the core software tool are not transactions involving foreigners’ property interests. A

“property interest” is a subset of the category of “legal interests,” which refer to “all or

part of a legal or equitable claim to or right in property.” Interest, Black’s Law Dictionary

(11th ed. 2019). The concept of a “property interest” references positive law and asks

whether the person has “[a]n interest … held by an owner, beneficiary, or remainder-

man in land, real estate, business, or other tangible items.” Property Interest, Black’s Law

Dictionary (11th ed. 2019); In re Kalter, 292 F.3d 1350, 1353 (11th Cir. 2002). To be a

property interest, the interest must be in “objects or rights which are susceptible of

ownership,” such as money or goods. Meyer v. United States, 364 U.S. 410, 412 n.3 (1960).

The term is synonymous with “ownership interest.” Property Interest, Black’s Law Dic-

tionary (11th ed. 2019) (“also termed … ownership interest”); Ownership Interest, Black’s

Law Dictionary (11th ed. 2019) (“see property interest”). When someone has a property

interest in something, that typically means that he has “rights of possession and con-

trol,” Property Interest, Black’s Law Dictionary (11th ed. 2019), the “right to exclude,”

Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2072 (2021), and the right of disposition,



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Checker Cab Operators v. Miami-Dade Cty., 899 F.3d 908, 918 (11th Cir. 2018); see also

Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419, 435 (1982).

       Supreme Court precedent interpreting IEEPA’s property-interest element ad-

heres to this understanding. It asks whether the regulated transaction, standing by itself,

involves some “particular property” belonging to the foreigner. Dames & Moore v. Regan,

453 U.S. 654, 675 (1981). In Dames & Moore, the Supreme Court held that IEEPA’s

property-interest element did not allow the President to prohibit lawsuits with a sanc-

tioned foreigner. It held that lawsuits against the Iranian government “are not in them-

selves transactions involving Iranian property or efforts to exercise any rights with re-

spect to such property.” Id. Even though Iran was a party to the lawsuit and the sole

purpose of the lawsuit was to obtain Iran’s property, the lawsuit in isolation did not

involve foreign property. “An in personam lawsuit, although it might eventually be re-

duced to judgment and that judgment might be executed upon, is an effort to establish

liability and fix damages and does not focus on any particular property within the juris-

diction.” Id. So although restrictions on such lawsuits could be upheld based on other

sources of law, “[t]he terms of the IEEPA therefore do not authorize the President to

suspend claims [against sanctioned foreigners] in American courts.” Id.; see also Ministry

of Defense of Iran v. Elahi, 556 U.S. 366, 376-77 (2009) (holding that Iran’s “property

interest” in judgment in its favor did not arise until “the district court confirmed the

[arbitration] award”).


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       2. The sanctioned foreign persons have no property interest in domestic
          uses of the core software tool.

       When Americans like Plaintiffs use the core software tool, that use does not in-

volve the property interests of the software writers or the DAO. 50 U.S.C.

§1702(a)(1)(B). The software writers and the DAO have no rights at all with respect to

that transaction because no positive law remotely supplies such rights. They are not the

owner, beneficiary, or remainderman with respect to the property involved in the trans-

action because the property belongs exclusively to the American user. A.R.51-53, 550-

61. The user’s only payment is the standard Ethereum transaction fee, none of which

goes to the software writers or the DAO. Id. They do not have rights of possession,

control, exclusion, or disposition over any involved property because they could not

change the transaction, prevent it, or give rights over it to anyone else. A.R.61, 563-67,

951. And even if the transaction were designed to involve their property at a later step—

which it isn’t—they would not have a property right in the transaction itself. Dames &

Moore, 453 U.S. at 675.

       Even if the government could clear all these hurdles, it faces two more. First,

existing law suggests that unincorporated organizations like the DAO are not even ca-

pable of holding interests in property. Fleischhauer v. Feltner, 879 F.2d 1290, 1299 (6th Cir.

1989). Their members are, but OFAC has made clear that it’s not relying on their mem-

bers’ property interests. See FAQ, OFAC (Nov. 8, 2022), perma.cc/7G88-DMGW



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(“OFAC has not designated Tornado Cash’s individual founders, developers, members

of the DAO, or users, or other persons involved”).

      And second, if the software writers or DAO somehow ever had a property in-

terest in these transactions, they abandoned it long before the criminalization. They

“relinquish[ed] of or depart[ed] from” whatever interest they had “with the present,

definite, and permanent intention of never returning or regaining possession,” Aban-

donment, Black’s Law Dictionary (10th ed. 2014); United States v. Green, 981 F.3d 945, 956

(11th Cir. 2020), because they intentionally made the tool inalterable and irrevocable,

A.R.141 (Software writer: “The protocol was specifically designed this way to be un-

stoppable, because it wouldn’t make much sense if some third-party [like developers]

would have control over it.”); see also A.R.61, 138-41, 563-67, 951.

      3. The government’s ambitious property-interest theories fall short.

      Forced to defend a poor fit with the statutory text, the government throws out

several new theories of property rights and hopes one of them sticks. But none do.

      1. The government’s primary theory is that the DAO has a property interest in

all uses of the core software tool because some uses of the core software tool involve

registered relayers, and some uses of registered relayers generate a payment to the DAO.

A.R.62-64. But OFAC has criminalized many transactions that result in not a penny’s

worth of property going to the DAO. And this lawsuit will not make the transactions

that do generate a payment to the DAO any more legal than they were before.


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       OFAC has criminalized at least three types of transactions that generate no pay-

ment to the DAO. First, many prohibited transactions involve no relayers because re-

layers are optional. A.R.187, 559-61. Although relayers add convenience, anyone can

deposit a crypto asset from a more public address and withdraw it to a more private

address without using one. Even before there was a legal problem with using them,

over 16% of transactions did not use registered relayers. A.R.57. No Plaintiff would use

relayers.15 Second, many prohibited transactions use relayers, but not registered relayers.

Relayer code is open-source and can be used by non-registered relayers. Before 2022,

the only available relayers were non-registered relayers who generated no payment to

the DAO. A.R.32, 39. And third, many prohibited transactions use registered relayers

but still do not generate payment to the DAO—such as all transactions with the gov-

ernment’s first listed address, the 0.1 ETH tool. A.R.59-60, 1145. Criminalizing large

categories of transactions in which no property goes to the DAO is the definition of

“exc[eeding] statutory … authority.” 5 U.S.C. §706(2)(C).

       In fact, not a single transaction that would become lawful as a result of this lawsuit

would result in any property going to the DAO. Plaintiffs challenge the criminalization

of transactions with the core software tool, but not the criminalization of transactions


15
  Ex.A¶12 (“My use would therefore consist of my public address sending my crypto
asset, such as 0.1 ETH, then my private address withdrawing that same 0.1 ETH, with-
out any payment to any registered relayer.”); Ex.B¶13 (“We do not need to use regis-
tered relayers and would not use them.”); Ex.C¶12 (“I would not use a registered re-
layer.”); Ex.D¶9 (“We are … not aware of any donations that used registered relayers.”).
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with the relayer registry address16 or the DAO address.17 Am.Compl.41-43. But absent

those two addresses, the government’s causal chain to the DAO—and thus to the

IEEPA “foreign” person—is severed. See A.R.57-59. Legalizing the core software tool

cannot generate payments to the DAO if those payments require additional steps that

remain illegal. The only effect of criminalizing the core software tool is to prohibit

transactions that do not involve registered relayers or payments to the DAO.

       2. The government appears to suggest three backup theories. Its first theory is

that the software writers and DAO have a property interest in uses of the core software

tool because they spent “efforts” creating and promoting it, A.R.62, it had a “cost” to

them, A.R.60, and it effectively performs a service for future users, A.R.18. But a person

does not have a property interest in something merely because he expended his labor

or incurred costs to create the technology that it uses, or because it serves people in the

future. E.g., Marsh v. Nichols, Shepard Co., 128 U.S. 605, 612 (1888) (absent a patent, an

inventor has no property right in his technology); Restatement (Third) of Restitution and

Unjust Enrichment §2 (2011) (ordinarily no right to payment for voluntarily conveying

benefit). Anglo-Saxon property law has not yet adopted Marx’s labor theory of value.

If it did, then the executive could use IEEPA to prohibit Americans from using any-

thing invented by foreigners, from paper to computer code to Ethereum itself.



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 AR-LXIV, AC-31.
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 AR-LXVI, AC-63.
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       The government’s second theory is that the software writers and DAO have an

interest in uses of the core software tool because they enjoy positive externalities from

its use. See A.R.60-61. But a person does not have a property interest in something

because it can benefit him, or result in his enrichment. Elahi, 556 U.S. at 376-77; see also

College v. Woodward, 17 U.S. 518, 639-40 (1819). If that sufficed, President Truman could

have won the steel seizure case by simply invoking IEEPA’s (broader) precursor and

observing that greater production benefits foreign buyers of steel. See Youngstown Sheet

& Tube v. Sawyer, 343 U.S. 579, 585 (1952).

       Finally, the government suggests that the software writers and DAO have a

“property interest” in uses of the core software tool because cryptocurrency users call

it a “smart contract,” and someone might have a property interest in an ordinary con-

tract. A.R.60 n.121. But “smart contract” is a metaphor for the code’s ability to execute

rules, not an accurate description of American contract law. A.R.1095. The core soft-

ware tool is not a contract in the property-interest sense because nobody besides the

user gives consideration, agrees to terms, or performs. Vega v. T-Mobile USA, Inc., 564

F.3d 1256, 1272 (11th Cir. 2009). And if the core software tool were property, it would

not be the property of the software writers and DAO, who are not parties to its use.

When a trade group publishes an actual contract template for anybody to use, the group

does not have a property interest in any future arrangements made by other parties who




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download and use the contract template. Protocols, ISDA, perma.cc/CBU8-BXF8

(providing contract templates for free use).

       The same outcome follows from any plausible definition of “property interest.”

For example, even a due-process constitutional “property interest” requires “a legiti-

mate claim of entitlement,” based on “existing rules or understandings that stem from

an independent source such as state law.” Regents of State Colleges v. Roth, 408 U.S. 564,

577 (1972). But neither the software writers nor the DAO have any state-law legal right

to domestic uses of the core software tool. Likewise, the concept of “beneficial inter-

ests” in property requires a “right or expectancy in something (such as a trust or estate),

as opposed to legal title to that thing.” Beneficial Interest, Black’s Law Dictionary (11th

ed. 2019). The concept comes from “trusts and estates law,” American Guarantee Liab. v.

Timothy S. Keiter, 360 F.3d 13, 19-20 (1st Cir. 2004), and has no application to ordinary

financial activity that affects a third party.

                                             ***

       Plaintiffs’ position is restrained. They do not challenge the executive’s power to

invoke perpetual emergencies to justify IEEPA prohibitions. They do not challenge

OFAC’s decision to define an amorphous group that holds a certain crypto token as a

sanctionable “person,” or its view that this group is “foreign” even though many pur-

ported members are American. They do not challenge its power to prohibit the use of

registered relayers simply because they sometimes generate small payments to the


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DAO. And they do not challenge its power to punish anyone who uses the core soft-

ware tool to send any crypto assets to North Korea or any other sanctioned party. All

Plaintiffs contend is that IEEPA does not authorize OFAC to make it a felony for

Plaintiffs to deposit and withdraw their own assets from a public tool, when no for-

eigner receives a payment from or has control over any aspect of that transaction.

   B. Even if the statutory text weren’t clear, Plaintiffs are correct under the rule
      of lenity and major questions doctrine.

       To the extent that IEEPA’s text does not resolve this question, two rules of

interpretation favor Plaintiffs. First, the rule of lenity means that Plaintiffs are correct

unless IEEPA’s application to domestic uses of the core software tool is “clear and

definite.” Romero v. DHS, 20 F.4th 1374, 1383 (11th Cir. 2021). cert denied 142 S. Ct. 2869

(2022). “[W]hen [courts] are faced with a statute that has both criminal and noncriminal

applications, ‘[they] must interpret the statute consistently’ in both contexts.” Id. Any

other approach would render “every statute a chameleon, its meaning subject to change

depending on the [case].” Clark v. Martinez, 543 U.S. 371, 380 (2005). Therefore, “the

Supreme Court has leaned decidedly against deferring to agencies’ interpretations of

dual application statutes.” Gallardo v. Barr, 968 F.3d 1053, 1060-61 (9th Cir. 2020) (citing

Leocal v. Ashcroft, 543 U.S. 1, 3-4 (2004)). IEEPA is a dual-application statute because it

forms the basis for felony criminal punishments, including up to 20 years imprison-

ment. 50 U.S.C. §1705(c). The rule of lenity thus applies here.



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       Second, the major questions doctrine also means that Plaintiffs win unless

IEEPA “plainly authorizes” OFAC’s action. NFIB v. OSHA, 142 S. Ct. 661, 665 (2022).

When the “logic” of an agency’s statutory interpretation of a statute would empower it

to take actions of “vast economic and political significance,” the major questions doc-

trine applies. Gonzales v. Oregon, 546 U.S. 243, 262 (2006); OSHA, 142 S. Ct. at 665; see

also Alabama Ass’n of Realtors v. DHS, 141 S. Ct. 2485, 2489 (2021) (“the Government’s

read of §361(a) would give the CDC a breathtaking amount of authority” to regulate

other matters, like grocery delivery).

       The government interprets 50 U.S.C §1702 to authorize it to criminalize purely

domestic transactions if those transactions could (but do not) include foreigners, use

technology invented by foreigners, or produce positive externalities for foreigners. Infra,

I.A.3 Its interpretation would give it the power to regulate every financial transaction in

America (because anyone can add an optional payment to a foreigner); any technologies

that foreigners contribute their labor to; and every minutia of domestic industries that

produce beneficial externalities to foreigners. The agency therefore cannot rely on

“modest words,” “vague terms,” or “subtle device[s],” like a novel theory of property

interests. W. Virginia v. EPA, 142 S. Ct. 2587, 2609 (2022). Instead, it loses unless all

uses of the core software tool “clearly” involve foreigners’ property interests. Id. (em-

phasis added).




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       Chevron deference, or what’s left of it, doesn’t apply here. It yields to the major

questions doctrine and the rule of lenity. King v. Burwell, 576 U.S. 473, 485 (2015) (major

questions doctrine displaces Chevron); United States v. Apel, 571 U.S. 359, 369 (2014) (“we

have never held that the Government’s reading of a criminal statute is entitled

to any deference”); Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1630 (2018) (“Where, as

here, the canons supply an answer, ‘Chevron leaves the stage.’”). And it does not apply

in the first place because the statutory text is clear. Plaintiffs also reserve the right to

argue that Chevron should be overruled. Michigan v. EPA, 576 U.S. 743, 762 (2015)

(Thomas, J., concurring).

       Because IEEPA does not authorize regulation of “purely domestic transactions,”

Wald, 468 U.S. at 228 n.8, OFAC’s criminalization of the core software tool exceeded

its authority and should be set aside, 5 U.S.C. §706(2).18




18
   The government initially suggested that the software tool itself was the sanctioned
foreign person. It described “Tornado” as a “virtual currency mixer” and then sanc-
tioned it—rather than any group of people—“for having materially assisted” malicious
activities. Treasury Sanctions Notorious Virtual Currency Mixer Tornado Cash, OFAC (Aug.
8, 2022), perma.cc/8GFV-3VMB. Plaintiffs’ Count II pleaded in the alternative that the
tool could not be a sanctioned person. Am.Compl.33-34. The administrative record no
longer relies on that rationale, so Plaintiffs will not address it here unless the govern-
ment tries to resurrect it.
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II.    OFAC acted arbitrarily and capriciously.

       Courts must set aside agency actions that are arbitrary and capricious. Motor Ve-

hicle Mfrs. Ass’n v. State Farm, 463 U.S. 29, 43 (1983). Arbitrary and capricious review is

“searching and careful.” Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 378 (1989). The

criminalization of the core software tool was arbitrary and capricious in three ways.

       1. There was a “significant mismatch” between the proffered rationale and

OFAC’s decision. Commerce v. New York, 139 S. Ct. 2551, 2575 (2019). When there is a

“disconnect between the decision made and the explanation given,” the agency acts

arbitrarily and capriciously. Id. “[A]gencies [must] offer genuine justifications for im-

portant decisions, reasons that can be scrutinized by courts and the interested public.”

Id. When the agency’s “explanation for [its] decision” does not match the decision itself,

it’s arbitrary and capricious—especially if the agency revises its action to produce the

same result with new justification for litigation purposes. Id. at 2570, 2574-75. Here,

“[s]everal points, considered together, reveal a significant mismatch between [OFAC’s]

decision … and the rationale [it] provided.” Id.

       OFAC’s action was head-scratching on its face. It said that the software writers

and DAO “materially assisted” North Korea and malicious foreign cyber activities be-

cause they helped provide technology that those bad actors used. Treasury Designates

DPRK Weapons Representatives, OFAC (Nov. 8, 2022), perma.cc/TF34-EXM8. But in-

stead of prohibiting transactions with the software writers and DAO members—like it


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does for other sanctioned entities—it left them with all the rights of full participants in

the American economy. FAQ: Who is the Tornado Cash “person” that OFAC designated?,

OFAC (Nov. 8, 2022). perma.cc/7G88-DMGW. Then, OFAC prohibited transactions

by Americans with their own assets. FAQ: What is prohibited as a result of OFAC’s designation

of Tornado Cash?, OFAC (Nov. 8, 2022), perma.cc/F94U-WHPH.

       Context demonstrates that OFAC was “determined” to obtain that result and

found its reasoning later. Commerce, 139 S. Ct. at 2574. OFAC acted in the context of

the Biden administration’s targeting of domestic cryptocurrency users, which has fo-

cused on eliminating crypto privacy. Am.Compl.¶84; Tucked Inside Biden Infrastructure Bill:

Unconstitutional Crypto Surveillance, CoinDesk (Jan. 25, 2022), perma.cc/3XPB-2PKW.

And OFAC first tried to criminalize the core software tool in August based on the

theory that the tool itself was a sanctionable foreign person, U.S. Treasury Sanctions No-

torious Virtual Currency Mixer Tornado Cash, OFAC (Aug. 8, 2022), perma.cc/8GFV-

3VMB, withdrew its criminalization after legal challenge, then re-criminalized the same

software tool with new reasons, Treasury Designates DPRK Weapons Representatives, OFAC

(Nov. 8, 2022), perma.cc/TF34-EXM8. Its administrative record oddly does not ex-

plain what changed in the interim, but one thing stayed the same: OFAC criminalized

all 20 addresses that host the core software tool that protects the privacy of Americans.

This Court is “not required to exhibit a naiveté from which ordinary citizens are free.”

Commerce, 139 S. Ct. at 2574.


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       2. OFAC did not show “awareness” and provide a “reasoned explanation” for

“changing [its] position” from using sanctions law to reform individuals’ behavior to

using it to ban a technology that cannot be reformed. FCC v. Fox Television Stations, 556

U.S. 502, 515 (2009). “The ultimate goal of sanctions,” OFAC always says, is “to bring

about a positive change in behavior.” Treasury Designates DPRK Weapons Representatives,

OFAC (Nov. 8, 2022), perma.cc/TF34-EXM8. But it is impossible for the software

writers or the DAO to change the core software tool. If they wanted to please the

government by revising the core software tool to reject all transactions involving North

Koreans or by removing the tool from the Internet altogether, they couldn’t. No

“change in behavior” can revise or take back the core software tool, and OFAC did not

even recognize—much less provide a “reasoned explanation” for—its drastic policy

change.

       3. OFAC failed to consider “important aspect[s] of the problem.” Michigan v.

EPA, 576 U.S. at 752; Bidi Vapor v. FDA, 47 F.4th 1191, 1202-04 (11th Cir. 2022). It

failed to consider:

   ● The reliance interests, DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1914
     (2020), and due-process interests, Robinson v. California, 370 U.S. 660, 666 (1962),
     of Americans like Plaintiff David Hoffman who can be subject to lifetime re-
     porting and potential liability because someone sends them unsolicited funds
     through the core software tool. Ex.C¶6.

   ● The permanent loss of property for innocent Americans who deposited their
     assets into the core software tool before the criminalization and were banned
     from withdrawing those assets, even simply to return them to themselves.

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   ● The chilling effect of sanctioning software writers and sanctioning privacy tech-
     nology on the future publishing of code and associating politically. IEEPA warns
     OFAC to be cautious about its effects on these protected activities because it
     explicitly exempts even foreigners in their publishing of “communication[s]” and
     “informational materials.” 50 U.S.C. §1702(b). But OFAC did not consider its
     assault on these statutorily-privileged concerns. See Bidi Vapor, 47 F.4th at 1202-
     04.

For these reasons, the criminalization was arbitrary and capricious.

III.    OFAC violated the First Amendment.

        When government action chills protected First Amendment association, it trig-

gers exacting scrutiny. Americans for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2385

(2021). Plaintiffs have a “strong” First Amendment interest in “maintaining the privacy

of” their associational activities, including their charitable donations. Gibson v. Fla. Legis.

Investigation Comm., 372 U.S. 539, 555-56 (1963). OFAC’s criminalization not only chilled

Plaintiffs’ protected First Amendment association, but destroyed it. It deprived John

Doe and his donors of the privacy tool that they relied on and needed. They have no

other options and are left to stop making donations entirely. Ex.B¶11 (“As a result of

Defendants’ criminalization, our donations have stopped.”); see also Ex.D.¶10.

        OFAC’s criminalization fails exacting scrutiny. “[E]xacting scrutiny requires

“narrowly tailor[ing]” to the government’s interest. Bonta, 141 S. Ct. at 2384 (controlling

op. of Roberts, C.J.). “Narrow tailoring” requires that OFAC “demonstrate its need for

[its action] in light of any less intrusive alternatives.” Id. at 2386 (emphases added). Here,




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OFAC could have exempted Americans’ uses of the core software tool that didn’t in-

volve the software writers or DAO, exempted domestic transactions that advance pro-

tected associations, or required that those transactions be reported privately to the gov-

ernment rather than banning them outright. Because it failed to take, and appears to

have “not even considered,” these alternatives, it “fails exacting scrutiny.” Bonta, 141 S.

Ct. at 2386, 2389.

                                    CONCLUSION
       This Court should grant summary judgment for Plaintiffs and set aside the crim-

inalization of transactions involving the 29 challenged addresses.

 Dated: May 26, 2023
                                            Respectfully submitted,

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                          CERTIFICATE OF SERVICE
      I e-filed this motion with the Court on May 26, 2023, which emailed everyone

requiring notice.

                                                           /s/Cameron T. Norris
                                                           Counsel for Plaintiffs


                      CERTIFICATE OF COMPLIANCE
      I certify that this memorandum complies with Local Rule 7.1(F) because it con-

tains 7,994 words, excluding the parts that may be excluded.

                                                           /s/Cameron T. Norris
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